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UN|TED STATES D|STFI|CT COURT

wEs'rERN olsTnlcT oF TENNEssEE F"‘ED S`" D'C'
MEMPHls DlvisloN 05 JUN 23 AH H; 5b
uNlTED sTATEs oF AMEFucA ROQEW a m .i mm
cL§aK, u:`s. cisr. cT.
_v_ 2:04CR20348_01_B W.D. GF TN, P‘J'EEMPHlS
RAYMOND BECTON

Leslle l. Ba||in Retained
Defense Attorney

200 Jefferson Ave. #1250
Memphis, TN 38103

 

 

JUDGMENT lN A CRlM|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on March 24, 2005. According|y,
the court has adjudicated that the defendant is guilty of the following offenses:

Date Count
Tit|e & Section Nature of Offense Of'fense Numberjsj
Conc|uded
l 18 U.S.C. §2252(a)(4)(B) Possession of Child Pornography 08/22)'2002 1

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Fleform Act of 1984 and the Mandatory
Victims Ftestitution Act of 1996

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.
Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 3/31/1960 June 22, 2005
Deft’s U.S. iVlarshal No.: 19871-076

Defendant’s Nlailing Address:
2744 Hollywood Drive

union City, TN 38261 M

J. DANlEL B`REEN
u ~ilTED sTATEs DlsTRlcT JuDGE

Thls document entered on fha d k ' June_A' 2005
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.Iih Hlji@ 55 and/cr 32(b] FF!CrP Sh etl m lan

 

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Case No: 1:04CR20348-01-B Defendant Name: Flaymond Wayne BECTON Page 2 of 5
lN|PR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 8 Months.

The Court recommends to the Bureau of Prisons:
-That the defendant be housed as close to Union City, Tennessee, as possible.

The defendant shall surrender for service of sentence at the institution designated
by the Bureau of Prisons as notified by the United States |Vlarsha|.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES NIARSHAL
By:

 

Deputy U.S. Nlarsha|

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Case No: 1:04CR20348-01-B Defendant Name: Haymond Wayne BECTON Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonmentl the defendant shall be on supervised release for
a term of 3 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district withoutthe permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;

6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, orany paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered; The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

11. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

f2. |f this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1) Employment and change of address must be approved by the probation officer.

2) Participate in a specialized sex offender treatment program that may include the use of a
plethysmograph and polygraph.

3) Fiefrain from purchasing, possessing, or using any sexually stimulating or sexually oriented
books, magazines, films, videos, computer programs, or any other media for portrayal of same.

4) Do not loiter near school yards, playgrounds, swimming pools, arcades, or other places
frequented by children.

5) Do not use sexually oriented telephone numbers or services.
6) Abide by an evening curfew as set by the probation officer.

7) Do not possess, or use, a computer with access to any “on-|ine computer service” at any
location without the prior approval of the probation officer. This includes any lnternet Sen/ice
provider, bulletin board system or any other public or private network or e-mail system.

8) Cooperate with the collection of DNA as directed by the probation officer.

9) Participate in the Home Detention program for a period of 6 Months. During this time,
defendant will remain at defendants place of residence except for employment and other activities
approved in advance by the Defendant’s Probation Officer. Defendant will be subject to the
standard conditions of Home Detention adopted for use in the Western District of Tennessee, which
may include the requirement to wear an electronic monitoring device and to follow electronic
monitoring procedures specified by the Probation Officer.

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CF|IM|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). A|l of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Ftestitution
$1 00.00
The Special Assessment shall be due immediately.

F|NE
No fine imposed.

REST|TUT|ON
No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy cf the document docketed as number 28 in
case 2:04-CR-20348 Was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

 

 

Leslie I. Ballin

BALLIN BALLIN & FISHMAN
200 chferson Ave.

Ste. 1250

i\/lemphis7 TN 38103

Dan Nevvsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honcrable J. Breen
US DISTRICT COURT

